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10
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12                           UNITED STATES DISTRICT COURT
13                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
14   UNITED STATES OF AMERICA,                  No. CR 19-00343-GW

15              Plaintiff,                      GOVERNMENT’S RESPONSE TO
                                                DEFENDANTS’ EX PARTE
16                   v.                         APPLICATION TO CONTINUE TRIAL

17   TRAVIS SCHLOTTERBECK and                   Trial Date: June 7, 2022
     JAMES BRADLEY VLHA,                        Trial Time: 8:30 a.m.
18                                              Location:   Courtroom of the
                Defendants.                                 Hon. George H. Wu
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21        Plaintiff United States of America, by and through its counsel
22   of record, the United States Attorney for the Central District of
23   California and Assistant United States Attorneys Brian R. Faerstein
24   and Dan G. Boyle, hereby files its response to defendant Travis
25   Schlotterbeck’s and James Bradley Vlha’s joint ex parte application
26   to continue the trial date in the above-captioned proceeding.            The
27   government’s response is based upon the attached memorandum of
28   points and authorities, the attached declaration of Brian Faerstein,

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 1   the files and records in this case, and such further evidence and

 2   argument as the Court may permit.

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 4   Dated: May 20, 2022                 Respectfully submitted,

 5                                       TRACY L. WILKISON
                                         United States Attorney
 6
                                         SCOTT M. GARRINGER
 7                                       Assistant United States Attorney

 8

 9                                           /s/
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11                                       Attorneys for Plaintiff
                                         UNITED STATES OF AMERICA
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 1                     MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.   INTRODUCTION

 3        In light of defendant Travis Schlotterbeck’s substitution of

 4   counsel on the eve of trial, the government met and conferred with

 5   counsel to both defendants to discuss a reasonable accommodation for

 6   defendant Schlotterbeck’s new counsel to prepare for trial.            The

 7   government believed (and believes) that a final continuance to no

 8   later than July 12, 2022 - five weeks from the current trial date

 9   and eight weeks from the date new counsel’s substitution request was
10   granted - would afford new counsel more than adequate time to
11   prepare given the status of the case and the parties’ pretrial
12   disclosures to date.     Nonetheless, the government agreed in
13   principle with defense counsel to a continuance of trial from June 7
14   to July 19, 2022 (in order to accommodate the travel schedule of
15   defendant James Bradley Vlha’s counsel) and was prepared to file a
16   stipulation to continue trial to that date with the defense.
17        However, based on information obtained from colleagues within
18   the U.S. Attorney’s Office, the government understands the Court has

19   another trial scheduled for July 19, 2022, that may be going forward

20   and lasting several weeks.      Thus, deferring to the Court’s

21   management of its trial calendar, the government requests a trial

22   date between July 12 and July 26, 2022, should such be possible.

23   Alternatively, the government would not be opposed to a transfer of

24   the case to another judge available for trial in July, if

25   appropriate in the Court’s view.

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 1   II.   RELEVANT PROCEDURAL HISTORY

 2         A.      Initial Appearances, Discovery, and Defendants’ Requests
                   for First Four Continuances
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 4         Defendants made their initial appearance on the indictment in

 5   this case on August 13, 2019, and trial was set for September 24,

 6   2019.      (Dkt. Nos. 19, 28.)   The government made its initial

 7   production of discovery to defendants on August 16, 2019, and

 8   produced the substantial core of discovery – including agent

 9   reports, audio/video recordings and draft transcripts, digital
10   device evidence, and photographic and documentary evidence – by
11   January 13, 2020.      (See Declaration of Brian Faerstein (“Faerstein
12   Decl.”), attached hereto as Exhibit 1, at ¶ 2.)          The government has

13   made supplemental productions thereafter, including pretrial

14   confidential informant related disclosures and supplemental Jencks

15   materials, among other things.       (See id.)

16         In response to defendants’ requests for continuances to prepare

17   adequately for trial, the government stipulated to four continuances

18   in this case between September 2019 and March 2021, and the trial

19   date was correspondingly continued from September 24, 2019, to

20   November 9, 2021. 1    With the understanding that trial would go

21   forward on November 9, 2021, the parties jointly filed a Stipulation

22   Regarding Pretrial Filings Schedule on August 24, 2021, which the

23   Court entered on August 26, 2021.          (See Dkt. Nos. 76-77.)   The

24   stipulation set forth an expert disclosure and pretrial filings

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     1 Two of the continuances – relating to trial dates of August 25,
27   2020, and April 13, 2021 – were in part necessitated by closure of
     the Court due to the COVID-19 pandemic. (See Dkt. Nos. 72-75.)
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 1   schedule and contemplated that a potential additional continuance

 2   could arise only as a result of the ongoing pandemic.           Specifically,

 3   the stipulation specified that the pretrial schedule would be taken

 4   off calendar “should the trial date and status conference need to be

 5   continued as a result of the unavailability of in-person court

 6   proceedings due to the COVID-19 pandemic.”          (Dkt. No. 76 at ¶ 4.)

 7        B.       Defendants’ Request for Fifth Continuance and Revised
                   Pretrial Filing Schedule
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 9        In or around September 2021, defense counsel informed the
10   government that they were encountering a funding issue with a
11   previously-appointed defense expert after “trial preparation was
12   underway.”      (Faerstein Decl. at ¶ 3; Dkt. No. 78 at ¶ 6.d.)        The
13   defense informed the government that, at least as of October 11,
14   2021, it had retained a new expert but would need additional time to
15   prepare for the November 9, 2021 trial date with the new expert.
16   (See Dkt. No. 78 at ¶ 6.d.)      The government had already undertaken
17   substantial trial preparations as of September 2021 and had arranged

18   for all of its witnesses to be available for the November 2021

19   trial.      (Faerstein Decl. at ¶ 3.)       Moreover, the government’s lead

20   case agent, who also is a necessary witness at trial, would become

21   unavailable on extended leave starting in January 2022.           (See Dkt.

22   No. 78 at ¶ 7.)      The government offered a one-month trial

23   continuance to December 2021 to accommodate the defense’s stated

24   need for time with the new expert, which the defense did not

25   accept. 2    (Faerstein Decl. at ¶ 3.)

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27   2 Defendants’ ex parte application infers, perhaps inadvertently,
     that the fifth trial continuance was on account of both the defense
28   expert issue and “[a] witness for the government [being] on family
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 1        In lieu of opposing defendants’ request for a fifth trial

 2   continuance, the government ultimately agreed to one final

 3   continuance of the trial date to May 24, 2022, which would give the

 4   defense more than enough time to prepare with their new expert and

 5   accommodate the government’s newfound witness scheduling issue.

 6   (See Dkt. No. 78.)     The parties also built in a revised expert

 7   disclosure and pretrial filing schedule, working backwards from the

 8   May 12, 2022 status conference date.          (Id. at ¶ 8.)   Defendants

 9   further represented that they “d[id] not anticipate filing any
10   motions pursuant to Federal Rule of Criminal Procedure 12(b),
11   consistent with their not having previously filed any Rule 12
12   pretrial motions within the periods dictated for the filing of Rule
13   12 pretrial motions as previously ordered by the Court.”           (Id.)   The
14   Court entered the pretrial filing schedule as part of its order

15   continuing trial to May 24, 2022.          (See Dkt. No. 79.)

16        C.     Trial Preparation and Pretrial Filings

17        Since early April 2022, the parties have been meeting and

18   conferring on a number of issues in advance of trial, including a

19   proposed trial indictment, stipulations of fact, stipulations

20   regarding exhibits, proposed jury instructions, proposed verdict

21   form, and other issues relating to trial.          (See Faerstein Decl. at

22   ¶ 4.)     Among other things, the parties jointly filed their positions

23   on a disputed jury instruction, which the government and defendant

24   Schlotterbeck’s prior counsel (on behalf of both defendants)

25

26   leave and unavailable.” Dkt. 99 at 2. In fact, the government’s
     witness (the case agent) only became unavailable due to the
27   defense’s request for a more than one-month trial continuance. (See
     Dkt. No. 78 at ¶ 7.)
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 1   litigated, and the government made modifications to a proposed set

 2   of stipulations of fact accounting for requests by both prior

 3   counsel to defendant Schlotterbeck and counsel to defendant Vlha.

 4   (See id.)

 5        The parties exchanged expert disclosures on April 22, 2022,

 6   mutually agreeing to a one-week extension of the April 15 deadline

 7   in the Court’s pretrial scheduling order.         (Dkt. No. 79; Faerstein

 8   Decl. at ¶ 5.)    Pursuant to the Court’s scheduling order, the

 9   government filed three motions in limine on April 29, 2022, and its
10   trial memorandum on May 6, 2022, collectively setting forth in

11   detail the categories and types of evidence it intends to marshal at

12   trial.   (See Dkt. Nos. 80-82, 89.)        The parties jointly filed their

13   stipulated and disputed jury instructions and their stipulated

14   verdict form on May 6, 2022, also pursuant to the Court’s pretrial

15   scheduling order.     (See Dkt. Nos. 85-87.)      In addition, the

16   government has disclosed a substantial number of its proposed trial

17   exhibits to the defense, including over one hundred clips of audio

18   and video recordings it may offer and a series of summary exhibits

19   it has prepared from digital evidence.        (Faerstein Decl. at ¶ 6.)

20        Most recently, following the May 12, 2022 status conference and

21   the Court’s continuance of trial to June 7, 2022, the government

22   sent counsel to both defendants (including new counsel to defendant

23   Schlotterbeck, discussed further below) a proposed joint trial

24   exhibit list, joint witness list, and joint statement of the case on

25   May 18, 2022.    (Faerstein Decl. at ¶ 7.)

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 1        D.      Substitution of Counsel to Defendant Schlotterbeck

 2        On May 16, 2022, the government received an email from Edward

 3   Robinson, the then-proposed new counsel to defendant Schlotterbeck,

 4   indicating he had been retained by defendant Schlotterbeck in this

 5   case.     (Id. at ¶ 8.)    Mr. Robinson filed a request for substitution

 6   of counsel the same day, which the Court granted on May 17, 2022.

 7   (Dkt. Nos. 97-98.)

 8        On May 17 and 18, 2022, the government met and conferred with

 9   Mr. Robinson and Mr. Haig (counsel to defendant Vlha) to discuss Mr.
10   Robinson’s request for a continuance to prepare for trial.
11   (Faerstein Decl. at ¶ 9.)         Based on the history and status of the
12   case, as well as the extensive pretrial disclosures and filings the
13   government already has provided, the government stated that it would
14   agree to a continuance of trial of approximately 30 days, from June
15   7 to July 12, 2022, which would afford Mr. Robinson a total of eight
16   weeks to prepare for trial as of the date of his substitution,
17   representing five additional weeks from the current trial date.
18   (Id.)     During these negotiations, Mr. Haig informed all counsel of

19   his travel planned for June 24 through July 7, and to accommodate

20   this trip, the government agreed to one additional week’s

21   continuance, to July 19, 2022 – to which both defense counsel

22   tentatively agreed.       (Id.)   The government also agreed to propose a

23   stipulated pretrial briefing schedule and proposed pretrial hearing

24   date prior to Mr. Haig’s trip to accommodate his travel. 3          (Id.)

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26   3 The government understands the defense will be filing responses to
     its motions in limine. However, with respect to the stipulated
27   filings (including stipulated jury instructions and verdict form)
     the parties already have jointly submitted pursuant to the Court’s
28   pretrial filing scheduling order entered October 13, 2021, the
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 1   Based on this agreement in principle, the government began preparing

 2   a stipulated joint request for a continuance of trial and exclusion

 3   of time from June 7, 2022, to July 19, 2022.

 4        Following this preliminary agreement with defense counsel,

 5   however, government counsel came to learn from colleagues within the

 6   U.S. Attorney’s Office that the Court has another trial scheduled

 7   for July 19, 2022 that may be going forward and lasting several

 8   weeks, potentially well into August.          (Id.)   Defense counsel

 9   ultimately proposed a trial date of September 27, 2022, but the
10   government informed defense counsel that it would not stipulate to a
11   continuance into September, as this would be yet another extensive
12   continuance in this case and another four months from the previously
13   agreed-upon date of May 24, 2022.          (Id.)   In addition, the
14   government has now confirmed that certain of its expected trial

15   witnesses will be unavailable at various points in August and

16   September.    (Id. at ¶ 11.)    Defendants filed their ex parte

17   application to continue shortly thereafter.

18   III. THE GOVERNMENT’S POSITION

19        At all turns, the government has taken a reasonable approach to

20   defendants’ requests for more time in this case, and provided ample

21   time for effective preparation of counsel.            Defendant Schlotterbeck

22   now has obtained new counsel at the eleventh hour, more than two-

23   and-a-half years after his initial appearance in this case.

24   Nonetheless, the government agreed to provide reasonable

25   accommodation for his new counsel, offering to stipulate to a

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27   government does not believe those negotiated and agreed-upon filings
     should be subject to additional briefing.
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 1   continuance of five or six weeks to July 12 or July 19,

 2   respectively.     Even as these negotiations on a possible continuance

 3   progressed, the government still continued to prepare for trial,

 4   including disclosing proposed witness and exhibits lists and a

 5   proposed statement of the case just days ago.

 6         Given the history of continuances in this case, and the

 7   extensive pretrial filings that have already been submitted, the

 8   government believes defendants’ current request for what amounts to

 9   an additional four months is neither warranted nor necessary.             The
10   government already has provided defendant Schlotterbeck’s new
11   counsel a complete copy of the previously-produced discovery, in an
12   abundance of caution and to assist in his preparation.           (See
13   Faerstein Decl. at ¶ 12.)       The government also has described its

14   anticipated case-in-chief in detail in its pretrial disclosures and

15   filings, and has provided the defense its exhibit and witness lists

16   and numerous trial exhibits.       (Id. at ¶¶ 6-7.)     And counsel for

17   defendant Vlha, who has been counsel of record since August 23,

18   2019, is presumably ready for trial to commence on the current trial

19   date.

20         Moreover, the government has been able to confirm that all of

21   its necessary trial witnesses will be available to testify in July

22   (other than the week of July 4).        This is no small matter.      The

23   prior extended continuance requested by the defense in Fall 2021 led

24   to an essential government witness being unavailable for the first

25   few months of 2022, and a number of government witnesses have now

26   indicated that they likely will not be available at various points

27   in August and September.

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 1         Given these equities, the government defers to the Court’s

 2   management of its trial calendar and requests a trial date between

 3   July 12 and July 26, 2022, should such be possible.

 4         Alternately, because all parties appeared to be available for a

 5   July 19, 2022 trial date and were preparing to stipulate to a

 6   continuance to that date – before learning that the Court’s trial

 7   calendar called into question the viability of that date – the

 8   government would not be opposed to a transfer of this case to

 9   another judge who is available for trial beginning on July 12 or
10   July 19, 2022, or thereabouts, should such a transfer be appropriate
11   in the Court’s view. 4
12   IV.   CONCLUSION

13         For the foregoing reasons, the government respectfully requests

14   that the Court deny defendants’ ex parte application for a

15   continuance of trial to September 27, 2022.

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26   4 Should the Court decide to continue the trial date from June 7,
     2022, to a date beyond the current Speedy Trial Act date of June 21,
27   2022, the government will prepare a proposed order excluding time
     under the Speedy Trial Act consistent with any new trial date.
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